Case 1:18-cr-00081-.]I\/|S-DI\/|L Document 2 Filed 02/26/18 Page 1 of 20 Page|D #: 2

AO 91 (Rev. ll/l l) Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the ` _ .
Southern District of Indiana S l

LED

 

United States of America
v.
Case No. 1 : l 8-mj-00174

JOSEPH FREEMAN,

 

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of September 2015-February 2018 in the county of MariOn in the

 

 

Southern District of |ndiana , the defendant(s) violated:

Count 1; Code Sectio" Ojj‘ense Descrlptlon

1C8 U.§.ZC., Section 2251(a) and (e) Sexua| Exp|oitation of a Minor and Attempted Sexua| Exp|oitation of a Minor.
oun :

18 U.S. C., Section 2252 Chi|d Pornography Traff`lcking.

This criminal complaint is based on these facts: See attached Affldavit-

d Continued on the attached sheet. j f

Complainant ’s signature

Darin E. Odier, FB| TFO

Printea’ name and title

 

Swom to before me and signed in my presence.

Date: 02/26/2013 l M%t/C__

Judge ’s si gtfgture

City and State; |ndianapo|is, |ndiana Debra |V|cVicker Lynch, U.S. Magistrate Judge

Printea’ name and title

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 2 of 20 Page|D #: 3

AFFIDAVIT

I, Darin Odier, hereby depose and State as follows:

1. Affiant: I am a Detective in the Cybercrime Unit of the
Indianapolis Metropolitan Police Department. I am also a cross designated
Federal Task Force officer assigned to the FBI the Indianapolis Violent Crimes
Against Children Task Force.

2. Experience: I have over 28 years of law enforcement experience. I
have investigated State and Federal criminal violations related to high
technology or cybercrime, child exploitation, and child pornography. I have
written numerous Search warrants involving internet crimes against children
cases and participated in their execution.

3. Training: I have attended and presented at the National Crimes
Against Children Conference multiple times and attended numerous classes
related to investigating the online sexual exploitation of children. I am also a
member of the Indiana Internet Crimes Against Children Task Force, which
includes numerous federal, state and local law enforcement agencies. I am
currently assigned to operate in an undercover capacity on the Internet to
identify and investigate persons attempting to exploit or solicit sexual acts with
children or trafficking in child pornography. As a Task Force Offlcer, I am
authorized to investigate violations of the laws of the United States and to
execute warrants issued under the authority of the United States.

4. Information provided: The statements in this affidavit are based

on information obtained from my observations and communications, as well as

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 3 of 20 Page|D #: 4

information learned from other law enforcement officers and witnesses
Because this affidavit is being submitted for the limited purpose of securing a
criminal complaint and arrest warrant, the affiant has not included each and
every fact known to me concerning this investigation l have set forth only the
facts that I believe are necessary to establish probable cause for the listed
offenses

5. Probable Cause for Arrest Warrant: For the reasons listed below,
there is probable cause to believe that on, about or between September 2015-
February 2018 Joseph Freeman (Freeman), DOB 08-29-19xx (Known to affiant,
but redacted) committed the following offenses in the Southern District of
Indiana:

6. Count 1: Sexual Exploitation of a Minor and Attempted Sexual
Exploitation of a Minor (18 U.S.C. § 2251(a) and (e)): This statute provides
that “Any person who employs, uses, persuades, induces, entices, or coerces
any minor to engage in, or who has a minor assist any other person to engage
in, or Who transports any minor in or affecting interstate or foreign commerce,
or in any Territory or Possession of the United States, with the intent that such
minor engage in, any sexually explicit conduct for the purpose of producing
any visual depiction of such conduct or for the purpose of transmitting a live
visual depiction of such conduct, shall be punished as provided under
subsection (e), if such person knows or has reason to know that such visual
depiction Will be transported or transmitted using any means or facility of

interstate or foreign commerce or in or affecting interstate or foreign commerce

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 4 of 20 Page|D #: 5

or mailed, if that visual depiction Was produced or transmitted using materials
that have been mailed, shipped, or transported in or affecting interstate or
foreign commerce by any means, including by computer, or if such visual
depiction has actually been transported or transmitted using any means or
facility of interstate or foreign commerce or in or affecting interstate or foreign
commerce or mailed. It is also a crime to attempt to sexually exploit a child. 18
U.S.C. § 2251(€).

7 . Count 2: Child Pornography Trafficking (18 U.S.C. § 2252):
This investigation also concerns alleged violations of 18 U.S.C. § 2252, Which
prohibits a person from knowingly transporting, shipping, receiving,
distributing, reproducing for distribution, or possessing any visual depiction of
minors engaging in sexually explicit conduct when such visual depiction was
either mailed or shipped or transported in interstate or foreign commerce by
any means, including by computer, or when such visual depiction Was
produced using materials that had traveled in interstate or foreign commerce.

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8. The following definitions apply to this Affidavit:

9. “Child Pornography” means any visual depiction of sexually explicit
conduct where (a) the production of the visual depiction involved the use of a
minor engaged in sexually explicit conduct, (b) the visual depiction is a digital
image, computer image, or computer-generated image that is, or is
indistinguishable from, that of a minor engaged in sexually explicit conduct, or

(c) the visual depiction has been created, adapted, or modified to appear that

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 5 of 20 Page|D #: 6

an identifiable minor is engaged in sexually explicit conduct. See 18 U.S.C. §
2256.

10. “Minor” means any person under the age of eighteen years. See 18
U.S.C. § 2256(1).

1 1. “Sexually explicit conduct” means actual or simulated (a) sexual
intercourse, including genital-genital, oral-genital, or oral-anal, Whether
between persons of the same or opposite sex; (b) bestiality; (c) masturbation; (d)
sadistic or masochistic abuse; or (e) lascivious exhibition of the genitals or
pubic area of any person. See 18 U.S.C. § 2256(2).

12. “Visual depictions” include undeveloped film and videotape, and
data stored on computer disk or by electronic means, which is capable of
conversion into a visual image, See 18 U.S.C. § 2256(5).

Case Specific Probable Cause

13. Freeman’s Acts Against Minor Victim 2: On February 9,
2018 at 11:53 pm, Indianapolis Metropolitan Police Department (IMPD)
Officer Bowles was dispatched to xxxx Grove Berry Drive in Indianapolis,
in the Southern District of Indiana (address redacted but known to Affiant
and hereinafter referred to as “Address 1”) on an investigation of
inappropriate videos. The officer arrived and spoke with the complainant,
Witness 2. Witness 2 told the officer that she had a cell phone which
belonged to Joseph Freeman and she saw a video that showed the
bedroom of her minor relative, known in this affidavit as Minor Victim 2.

The phone, a Samsung Galaxy, belonged to Witness 2’s boyfriend, Joseph

4

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 6 of 20 Page|D #: 7

Freeman, (Freeman) W/M DOB 08 / 29 / **** (Known to this affiant but

redacted). Witness 2 stated she was able to save the video.

14. Witness 2 stated that when Freeman saw Witness 2 watching
the video, he left the residence without saying anything Witness 2 stated
that she further checked the contents of Freeman’s Samsung Galaxy

phone.

15. Witness 2 found a video dated February 8, 2018, and the video
showed Freeman putting a camera phone in a bag or box with a hole in it
to record the bed area of Minor Victim 2. Ms. Witness 2 said the video

showed Minor Victim 2 in her bedroom.

16. Witness 2 checked the camera angle from the video and
determined where the camera had been positioned when the video was
produced. She believed that the video was shot in Minor Victim 2’s
bedroom, with the camera positioned on a shelf above the television,
Which is across from Minor Victim 2’s bed. On that shelf, Witness 2

found a hole in a Kotex bag which was on the shelf.

17. Witness 2 also told Officer Bowles that that she found another
camera video dated February 9, 2018 on Freeman’s phone. This video
showed a bathroom in the residence that Minor Victim 2 uses to shower.
This bathroom is adjacent to Witness 2’s bedroom. Witness 2 checked the
camera angle from the video and determined where the camera had been

positioned when the video Was produced. She believed when the video

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 7 of 20 Page|D #: 8

was shot, thecamera Was leaned against a pillow angled toward the

bathroom from inside the bedroom of Witness 2.

a. Witness 2 stated that Minor Victim 2 had shown her a
text that Freeman sent to Minor Victim 2 on February 8, 2018 at
7:55pm that stated "[Minor Victim 2] you need to take a shower.
Your mom is on her way and you dont want her coming up there

and yelling b / c your sleeping".

b. Witness 2 stated that the text was odd and that Witness

2 never told Freeman to tell Minor Victim 2 to take a shower.

18. Minor Victim 2 is a child who, at all times relevant to this

investigation, Was less than 18 years of age.

19. IMPD Evidence Technician Reynolds responded to the scene
and took photographs Officer Bowles collected the Samsung Galaxy
phone and Kotex bag as evidence and took them to the Indianapolis

Metropolitan Police Department property room.

20. IMPD Cybercrimes Det. Laura Smith (SMITH) was assigned the
investigation T his affiant has worked directly with Det. Smith on multiple

child exploitation cases.

21. On February 15, 2018, Det. Smith requested a search warrant
to forensically examine the Samsung Galaxy cellular phone Which Was
recovered from Witness 2. The Warrant Was granted by the Marion

County, IN Superior Court.

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 8 of 20 Page|D #: 9

22. On February 15, 2018, Det. Smith interviewed Witness 2.
Witness 2 stated that the Samsung Galaxy phone was actually an old
phone that Freeman allowed her young son to use. Witness 2 said that
Freeman had his new phone with him When he left. Witness 2 said she
saw the videos in the Google photos folder on the Samsung Galaxy.
Through my training and experience, I know that Google accounts are
synced from device to device and therefore the videos may have actually
been recorded using another device but later accessed and saved to the

Samsung Galaxy recovered from Witness 1.

23. Witness 2 advised that Freeman was currently in the hospital
because of a suicide attempt on February 12, 2018. She believed that
Freeman’s current cellular phone was still in his car at the impound lot.

She also provided Freeman’s Google email address of jaf2984@gmail.com.

24. A preservation was also sent to Google for the account

jaf2984@gmail.com.

25. In interviews with Witness 2 and Minor Victim _2, Det. Smith
learned Minor Victim 2 originally found the videos When she logged in to
her Google account while at her grandmother’s residence. After seeing the
videos, she contacted Witness 2, who was at their residence with
Freeman. Minor Victim 2 played the videos for her mom through video
chat. When Freeman saw this, he quickly left the residence. lt was at this
point that Witness 2 looked on Freeman’s old phone, and Witness 2 saw
the videos stored in Google photos. Witness 2 was not aware that Minor

7

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 9 of 20 Page|D #: 10

Victim 2 had used that phone (the Samsung Galaxy that Was Freeman’s

old phone) on a prior occasion to log into her Google account.

26. Based on my training and experience, it is my belief that
because Minor Victim 2 had logged in to her Google account with the
Samsung phone, it automatically synched to the Google account of Minor
Victim 2, which then resulted in the storage of the videos of Minor Victim

2 to Minor Victim 2’s Google account.

27. Witness 2 gave consent for law enforcement to access the
Google account of Minor Victim 2 to see if the videos were synched to her
account. Two videos of interest Were located and copied from the Google

account of Minor Victim 2. They are described as follows:

a. 20180207 140008.mp4: This video was 1 minute and
seven seconds in length. The video showed a camera being
manipulated inside of a room with purple Walls. Inside of the room
was a bed With purple sheets The camera appeared to be shooting
through a hole of an unknown package. An adult male’s face is

directly in front of the camera as its being positioned.

b. 20180208 144155.mp4: This video was 16 minutes and `
13 seconds in length. lt shows a room with purple walls and purple
bed sheets In the beginning of the video, the camera is being
positioned by an adult male whose face is visible directly in front of
the camera. The camera appeared to be shooting through a hole of

an unknown package. The camera Was positioned showing a bed. At

8

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 10 of 20 Page|D #: 11

the 1 minute, 30 second point in the video, the adult male stepped
away and again looked directly into the camera before he appeared
to leave the room. At approximately 4 minutes into the video, a
person identifiable as Minor Victim 2 entered the room and laid on
the bed. The video did not show Minor Victim 2 in a state of nudity
or with her vaginal or pubic area exposed. When this video was

recorded, Minor Victim 2 was 14 years old.

28. Defendant Freeman’s Immediate Detention: Det. Smith
located an IMPD police report indicating that on February 12, 2018 (3 days
after Witness 2 made the police report to Officer Bowles), at approximately
2:30 pm, an officer was dispatched to 8303 Dix Rd to check the welfare of

a subject Who was sitting in a vehicle on the side of the road.

29. According to the report, upon arrival the Officer observed a
silver Chevrolet Impala bearing Indiana Passenger plate #132NB facing
northbound in the southbound lane, with half of the vehicle in the ditch
and the other half on the roadway. T he Officer approached the passenger
side Window and observed a person identified as Joseph Freeman sitting in

the driver seat with the window down.

30. The Officer observed the keys in the ignition to be in the on
position and the gear shifter to be in drive, but the vehicle Was not
running. The Officer walked around to the driver side of the vehicle and

made contact with Freeman. He observed Freeman to be very disoriented

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 11 of 20 Page|D #: 12

and confused. Freeman stared into the sky while the Officer attempted to

speak with Freeman

31. Freeman told police that he was 16 years old and had taken
multiple pills The Officer observed an empty bottle of Benadryl (32 count)
on the floorboard of the front passenger side. Officer observed Freeman’s
Will and his wedding ring sitting in the passenger seat of the car. A
passerby advised Freeman had been sitting in the vehicle for

approximately 4-5 hours on the side of the road.

32. The officer had reason to believe Mr. Freeman Was aidanger to
himself and in need of immediate hospitalization Freeman was placed
under immediate detention and transported to Community South Hospital.
Due to Freeman’s vehicle being parked in the opposite direction of travel

the vehicle was towed to Auto Return by Wards towing.

33. Smith’s Request to Search Vehicle: After learning about the
February 12, 2018 detention of Freeman, Det. Smith confirmed through
the IMPD Auto Desk that the vehicle was towed and was being stored at
Auto Return in Indianapolis A hold Was place on the vehicle pending

further investigation

34. On February 16, 2018, Det. Smith requested and received a
search Warrant out of Marion County, Indiana Superior Court for

Freeman’s vehicle.

10

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 12 of 20 Page|D #: 13

35. On February 16, 2018, Det. Derek Cress and Det. Smith went
to Auto Return and searched Freeman’s vehicle. Inside of the vehicle, Det.

Smith located an iPhone, which was photographed and collected.

36. Minor Victim 1: On February 16, 2018, Det. Smith received
a phone call from Witness 1. Witness 1 said she heard about the
investigation involving Freeman and wanted to' come forward with

information

37. Witness 1 stated that she is the ex-girlfriend of Freeman and
they broke up in 2015 when she learned that Freeman had been secretly

videotaping her minor relative, Minor Victim 1.

a. Witness 1 recounted that she was at Work in 2015 when
Minor Victim 1 sent her a message and asked her to come upstairs

to talk to Minor Victim 1 when she got home.

b. Minor Victim 1 told Witness 1 that she believed that
Joseph Freeman had been recording Minor Victim 1. Minor Victim 1
told Witness 1 that she was removing her sheets from her bed and
found a cellphone which had been inside a pillow next to her bed.
Minor Victim 1 said that she also recalled finding a cellular phone in
a plastic cup which had been placed inside the bathroom with a hole

cut in the cup.

11

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 13 of 20 Page|D #: 14

c. Witness 1 said that upon searching Minor Victim 1’s
bedroom, she found a cellular phone in a teddy bear inside the

child’s room.

d. Witness 1 said that she observed approximately three (3)
videos of Minor Victim 1 on the phones Which she found. She

believed the photos that Witness 1 found were in the phone’s gallery.

e. Witness 1 said she collected the cellular phones and
confronted Freeman about it. Freeman told her that he Was only
trying to prove that Minor Victim 1 wasn’t doing what she was

supposed to be doing and lying to Witness 1 about it.

f. Witness 1 said that Freeman left the house that evening
and went to his brother’s residence to stay. The next day When she
was gone from the house, she came back and it appeared as though
Freeman had been searching through the house. Witness 1 said
that Freeman told her that the videos had been deleted from the
phone and told Witness 1 that he didn’t care if she took the phones

and left the residence.

38. Witness 1 said she moved out of Freeman’s house on Grove
Berry in a matter of hours and took most of her belongings She said she
took one of the phones, but has since obtained another phone belonging to

Freeman

12

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 14 of 20 Page|D #: 15

39. Witness 1 obtained the second phone when she met with
Witness 2 after learning of the most recent incident with Witness 2’s
relative, Witness 2 located the phone in the house and it matched the
phone that Witness 1 recalled Freeman as using during the time she

stayed there.

40. Both phones in Witness 1’s possession were black Motorola
cellular phones Witness 1 could not remember where the 3rd phone went

or if she was able to take it from the house when she moved out in 2015.

41. On February 17, 2018, Det. Smith met with Witness 1 to
further discuss the 2015 incident. Smith collected the two Motorola cell

phones

a. Witness 1 told Det. Smith that she had a blue Dell
laptop which she had left behind at Freeman’s residence in 2015.
She also said that Freeman had a Nikon camera in a black bag in his
residence She described the 3rd cell phone that she had found as a

gray “sidekick” With green around it.

b. Witness l told Det. Smith that she found cellular
phones in strange places all over the house and thought nothing of
it, until Minor Victim 1 told Witness 1 about the cell phone that
Minor Victim 1 found inside of the pillow, which led to Witness 1

ending the relationship with Freeman in 2015.

13

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 15 of 20 Page|D #: 16

c. Witness 1 said that Freeman also has a minor relative

who visits him on the weekends and stays at the house.

42. On February 17, 2018, the two black Motorola cell phones

Were placed into the property room pending forensic examination

43. Forensic Examination of Phones (Minor Victim 1): On
February 19, 2018, Det. Smith requested and received search warrants for
the two Motorola phones which Were recovered from Witness 1. The

search warrants were issued in Marion County, Indiana Superior Court.

44. IMPD Cybercrimes Detective Grant Melton conducted a
forensic examination of Motorola model MB855 cell phone Which had been
received from Witness 2. In the internal memory of the phone, the following

files Were found:

a. 2015-09-03 20-33-06 647.mp4: This video is a 23:30

 

minute video in which the camera was manipulated and moved for
approximately the first 3 minutes of the video. The view was of a
bedroom (Bedroom A) and showed a bed, dresser, and a television
An adult male was visible from the shoulders down and was seen
walking away from the camera. Approximately 14 minutes later,
Minor Victim 1 Was visible wearing a towel. As she dressed, her
vaginal and pubic area were exposed and clearly visible. When this

video was recorded, Minor Victim 1 Was 11 years old.

14

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 16 of 20 Page|D #: 17

b. 2015-09-15 20-22-25 327.mp4: This video is a 14:20
minute video in which the camera was manipulated and moved in a
bathroom for approximately 90 seconds, after Which it was in a fixed
position An adult male’s face was clearly visible directly in front of
the camera as it was positioned. Soon after the male left the
bathroom, Minor Victim 1 entered the bathroom wearing a towel. For
several minutes, Minor Victim 1 Was nude with her vaginal and
pubic area exposed and visible. When this video was recorded, Minor

Victim 1 was 11 years old.

c. 2015-12-29 12-08-29 809.mp4: This video is an 18:30
minute video in which the camera was being manipulated and
moved in Bedroom A. At approximately 1 minute, an adult male’s
face was visible directly in front of the camera. The adult male left,
and Minor Victim 1 entered approximately 2 minutes later wearing a
towel. As she dressed, her vaginal and pubic area were exposed and
visible. When this video was recorded, Minor Victim 1 was 12 years

old.

d. 2015-12-31 12-40-42 147.mp_4. This video is a 23-
minute video in which the camera Was manipulated and moved in
Bedroom A. An adult male without a shirt Was clearly visible directly
in front of the camera as it was being positioned As the camera was

being positioned, Minor Victim 1’s name could be seen on the

15

Case 1:18-cr-00081-J|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 17 of 20 Page|D #: 18

bedroom door. After the adult male left the room, Minor Victim 1
entered wearing a towel. As she dressed, her vaginal and pubic area
Were exposed and visible. When this video Was recorded, Minor

Victim 1 was 12 years old.

45. Although the videos are similar in content, they are 4 unique
videos that, based on the naming convention of each video, were recorded

between September 2015 and December 2015.

46. This affiant has reviewed a BMV photo of Freeman and l
believe that Freeman is the adult male whose face is visible in 5 of the

videos described above.

47. In 2015-09-03 20-33-06 647.m1&, described above, the face
of the adult male is not visible. HoWever, a watch Worn on his right arm

and his build are consistent With the adult male seen in the other videos

_48. On February 17, 2018, Det. Smith requested a search warrant
for Address 1 to search for, seize, and examine digital devices T he search

warrant was issued in Marion County, Indiana Superior Court.

49. On February 17 , 2018 Det. Smith and assisting detectives
served the search warrant at Address 1. Witness 2 was present as she was

moving her items from the residence at Address 1.

16

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 18 of 20 Page|D #: 19

a. Witness 2 had collected several digital devices that did
not belong to her, Which she found inside of Address 1, and Witness

2 had placed them on a chair inside the living room area.

b. Witness 2 stated that she found three (3) cellular phones
inside of a laundry basket in their bedroom. They were identified as
a black Nokia, a White Samsung Galaxy, and a Samsung with a gray

and pink case.

1. One of the phones, identified as a black Nokia,

was taken by her neighbor who tried to examine it.

2. Witness 2 received the phone back from the

neighbor while officers were still on-scene.

c. Other items located inside of Address 1 included a Nikon
Camera, a 35 mm party camera, a Samsung digital camera, a Dell

laptop, and 2 loose Sim cards

d. All the items were photographed, collected, and placed
into the Marion County Property Room pending examination T hese

examinations have not been completed.

50. This affiant has investigated multiple cases of the sexual
exploitation of attempted sexual exploitation of children involving the use
of hidden camera or recording devices I have learned through experience

that these investigations often share the same characteristics and / or

17

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 19 of 20 Page|D #: 20

v tradecraft among the perpetrators T hese include, but are not limited to

the characteristics

a. Manipulating or positioning the camera in a covert

location

b. The face or body of the perpetrator is visible as the
perpetrator positions the camera and /or when the perpetrator

' retrieves the camera after the recording is complete.

c. The fixed field of view is usually in a bathroom or
bedroom and focuses on an area likely to show the victim in a state
of nudity such as in front of a toilet, a mirror, a dresser and / or a

bed.

51. T he videos in the present investigation are consistent With

these characteristics and /or tradecraft.

52. The devices used to record and store the videos in question
were not manufactured in Indiana and therefore travelled in interstate or

foreign commerce.

53. Each of the videos Which depicted Minor Victim 1 and Minor
Victim 2 were recorded in a location within the Southern District of
Indiana. Each of the devices which Were found to contain the videos in

question Were located in the Southern District of lndiana.

18

Case 1:18-cr-00081-.]|\/|S-D|\/|L Document 2 Filed 02/26/18 Page 20 of 20 Page|D #: 21

CONCLUSION

54. Based on my training and experience, and the facts as set forth in
this affidavit, there is probable cause to believe that Joseph Freeman has

committed the above listed offenses

%W/A

Darin Odier
Task Force Officer
Federal Bureau of Investigation

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Subscribed and sworn before me thi§>?‘<iay of February, 2018.

Debra McVicker l;ynch
United States Magistrate'Judge

Southern District of Indiana

19

